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NOTICE OF SERVICE: ATTACHMENT I

CONSOLIDATED REPLY MEMORANDUM
IN FURTHER SUPPORT OF PLAINTIFFS’
MOTIONS FOR PARTIAL SUMMARY
ADJUDICATION WITH RESPECT TO THE
CONTROLLED SUBSTANCES ACT
(DKT. #1910-1 & #1924-1)

SUMMARY SHEET
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In re National Prescription Opiate Litigation: MDL 2804

CONSOLIDATED REPLY MEMORANDUM IN FURTHER SUPPORT OF PLAINTIFES’”
MOTIONS FOR PARTIAL SUMMARY ADJUDICATION WITH RESPECT TO THE
CONTROLLED SUBSTANCES ACT (DKT. #1910-1 & #1924-1)

Summary Sheet of Concise Issues Raised

Motion Name: (1) Plaintiffs’ Motion for Partial Summary Adjudication of
Defendants’ Duties under the Controlled Substances Act

(2) Plaintiffs’ Motion for Partial Summary Adjudication That
Defendants’ Did Not Comply With Their Duties under The Federal
Controlled Substances Act To Report Suspicious Opioid Orders And
Not Ship Them

Moving Parties: Plaintiffs Summit County and Cuyahoga County
Concise Description of Issues:

Plaintiffs file this Consolidated Reply Memorandum in further support of their
motions (1) for summary adjudication concerning the scope of Defendants’ duties
under the Controlled Substances Act (“CSA”) and (2) for summary adjudication that
Defendants failed to comply with those duties. Because the Defendants discuss both
the legal and factual issues in their responses to both motions, for the convenience of
the Court, Plaintiffs are submitting a single consolidated reply with respect to the two
motions.

In their opening brief with respect to Defendants’ duties, Plaintiffs demonstrated
that registrants under the CSA are obliged to maintain effective controls against
diversion, to identify and report suspicious orders, and to halt shipment of each such
order until it can be determined, through due diligence, that the order is not likely to be
diverted. (The latter duty is sometimes referred to as the “no-shipping duty.”) In their
opposition briefs, Defendants argue that the CSA and its implementing regulations do
not impose any duties on registrants, much less a no-shipping duty. As a matter of
statutory and regulatory construction, this argument is wrong: registrants are
affirmatively required to maintain effective controls against diversion and there can be
no effective controls if registrants are permitted to ship orders they know to be
suspicious without first determining that the orders are unlikely to be diverted. In any
event, the question whether these duties exist as a general rule is a question of law, ripe
for adjudication on these summary judgment motions.

The duties to maintain effective controls against diversion and to identify and
report suspicious orders are specifically mandated by DEA regulations, which have the
force of law. The no-shipping duty has been recognized by the United States Court of
Appeal for the D.C. Circuit and has been announced by the DEA in formal
adjudications entitled to deference in this Court. The no-shipping duty is, in any event,
a corollary of the requirement to maintain effective controls against diversion, because
such controls cannot be effective if registrants are permitted to ship orders they know to

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be suspicious without first investigating to determine that diversion is unlikely.
Defendants’ theory, that once they have identified suspicious orders to the DEA, they
may wash their hands of concerns about diversion and carry on business as usual
without regard to whether the narcotics they ship may be diverted is inconsistent with
logic and with the regulatory scheme and should be rejected.

Defendants have further failed to create disputed issues of fact with regard to
their compliance with the CSA (or lack thereof). In order to establish that summary
adjudication is appropriate, Plaintiffs need not establish that Defendants were never at
any moment in compliance. Rather, Plaintiffs need only establish that during portions
of the relevant time period, Defendants failed to establish and maintain compliant
programs. Thus, Plaintiffs need not prove the Defendants never identified any
suspicious orders in order to establish, as a matter of law, that Defendants’ SOM
programs were not designed to identify—and were incapable of identifying —the full
range of orders defined as suspicious by the CSA, and thus did not comply with
Defendants’ obligations. Similarly, Plaintiffs need not show that Defendants never
halted a single suspicious order, if their evidence shows that Defendants routinely
shipped such orders without due diligence and maintained no policy requiring due
diligence before shipment. For this reason, Defendants’ evidence suggesting that at
particular time periods, or on specific occasions, they may have occasionally complied,
does nothing to undercut Plaintiffs’ undisputed evidence as to Defendants’ massive and
ongoing violations. What Defendants do not and cannot show is a factual dispute with
respect to Plaintiffs’ evidence that the SOM programs of each of the Defendants were
materially and systematically defective (and indeed, in some instances, entirely non-
existent) during relevant time periods, even if, on particular occasions, Defendants
happened to meet the requirements of the CSA.

Defendants also dispute that adjudication of their violations of the CSA will
streamline the trial and, in particular, dispute that their CSA violations constitute RICO
predicate acts. But, as Plaintiffs pointed out in their opening brief, it is a predicate
felony for anyone to manufacture, sell, or distribute controlled substances other than in
accordance with the requirements of the CSA. Defendants’ failure to comply with the
statute and regulations, and thus to meet the conditions of their registrations, means
that their manufacture, sale, and/or distribution of opioids was not in accordance with
the statute and thus was felonious. Adjudication of this issue will thus streamline the
presentation of evidence at trial, as certain of the elements Plaintiffs must prove will
already be established.

Filing Date: June 28, 2019
Response Date: July 31, 2019
Reply Date: August 16, 2019
